
PER CURIAM.
This cause came on to be heard on the motion of appellee to affirm the judgment appealed from pursuant to 31 F.S.A.Rule 38 of the rules of this court and it appearing to the court from an examination of the record that said motion is appropriate and seasonably made and that it is manifest that the questions raised on appeal are without substantial merit and need no further argument;
It is accordingly ordered, adjudged and decreed that the motion to affirm the judgment appealed from be, and the same is, hereby granted, and the judgment is
Affirmed on authority of Kearley v. Hunter, Fla., 16 So.2d 728, 152 A.L.R. 185.
TERRELL, C. J., and PIOBSON, DREW and O’CONNELL, JJ., concur.
